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                              UNITED STATES DISTRICT COURT
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                             SOUTHERN DISTRICT OF CALIFORNIA
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     Jodi Rothery,                               Case No.: 3:17-cv-00565-DMS-AGS
12
                      Plaintiff,                 ORDER GRANTING JOINT
13                                               MOTION TO DISMISS
           vs.
14
     Wells Fargo Bank, N.A.,
15
                      Defendant.
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18         Based on the parties’ Joint Motion to Dismiss with Prejudice, and for good
19 cause shown, IT IS HEREBY ORDERED that the parties’ Joint Motion is granted.
20 This case is dismissed with prejudice, with Plaintiff and Defendant to bear their own
21 attorney’s fees, costs and expenses.
22         IT IS SO ORDERED.
23 Dated: November 2, 2017
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     3:17-cv-00565-DMS-AGS                                                PROPOSED ORDER
